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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, Case No. CR 18-599 VC
Plaintiff,
ORDER SETTING DISCOVERY
Vv. CUT-OFF DATE
ISAI ULISES VILLAGOMEZ,
Defendants.

 

 

 

 

Trial in this case is scheduled to begin on March 14, 2022. No later than February 18, 2022, the
government shall turn over all discovery to the defense. This cut-off date shall apply to all discovery
and disclosures required by applicable law, including Federal Rules of Criminal Procedure 12.1-12.3, 16
and 26.2; Northern District of California Local Criminal Rule 16-1(c); Brady v. Maryland, 373 U.S. 83
(1963); Giglio v. United States, 405 U.S. 150 (1972); United States v. Bagley, 473 U.S. 667 (1985);
United States v. Henthorn, 931 F.2d 29, 30-1 (9th Cir. 1991) and California Rule of Professional
Conduct 3.8(d). Discovery and disclosures not timely produced may be excluded from trial if good

cause for the failure to produce is not demonstrated. See Fed. R. Crim. P. 16(d)(2), 26.2(e).

IT IS SO ORDERED.

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Date: February 11, 2022 VINCE CHHABRIA
United States District Judge

 
